               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 TERRENCE W. JONES,

                       Plaintiff,
 v.                                                   Case No. 19-CV-884-JPS-JPS

 CITY OF RACINE POLICE
 DEPARTMENT,                                                         ORDER

                       Defendant.


       On June 14, 2019, Plaintiff filed this action pro se alleging

employment discrimination. (Docket #1). Plaintiff also filed a motion to

proceed in forma pauperis. (Docket #2). In order to allow a plaintiff to

proceed without prepaying the filing fee, the Court must first decide

whether the plaintiff has the ability to pay the filing fee and, if not, whether

the lawsuit is frivolous, malicious, or fails to state a viable claim for relief.

28 U.S.C. §§ 1915(a), (e)(2)(B)(I).

       On the first question, Plaintiff avers that earns $6,300 per month and

expends only about $5,200 per month. (Docket #2). He also has $5,000 in

savings. Id. The standard for proceeding in forma pauperis is whether the

plaintiff would be unable “to provide himself . . . with the necessities of life”

if required to pay the $400.00 filing fee. Adkins v. E.I. DuPont de Nemours &

Co., 335 U.S. 331, 339 (1948); Brewster v. N. Am. Van Lines, Inc., 461 F.2d 649,

651 (7th Cir. 1972). Plaintiff comes nowhere close to meeting this standard;

he can easily afford the fee.




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       Plaintiff will be required to pay the full filing fee owed in this matter

on or before July 8, 2019. If he fails to do so, this action will be dismissed

without prejudice.

       Accordingly,

       IT IS ORDERED that Plaintiff’s motion to proceed in forma pauperis

(Docket #2) be and the same is hereby DENIED; and

       IT IS FURTHER ORDERED that Plaintiff shall pay the full filing fee

he owes in this matter on or before July 8, 2019.

       Dated at Milwaukee, Wisconsin, this 24th day of June, 2019.

                                    BY THE COURT:



                                    ____________________________________
                                    J. P. Stadtmueller
                                    U.S. District Judge




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